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10
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11   AMBER MACHOWSKI
12
13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
15
     AMBER MACHOWSKI, an individual,          Case No.
16
              Plaintiff,
17
         v.
18                                               COMPLAINT FOR VIOLATIONS
     LA FAYETTE PLAZA INVESTORS                  OF: AMERICANS WITH
19
     L.P., a California limited partnership; and DISABILITIES ACT OF 1990, 42
20   DOES 1-10,                                  U.S.C. § 12181, et seq.; UNRUH
                                                 CIVIL RIGHTS ACT, CALIFORNIA
21
              Defendants.                        CIVIL CODE § 51, et seq.
22
23                                            DEMAND FOR JURY TRIAL
24
25
26
27               Most Americans will become disabled at some point in life
28

                                       COMPLAINT
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 1          Plaintiff Amber Machowski (hereinafter referred to as “Plaintiff”) complains
 2
     of La Fayette Plaza Investors L.P., a California limited partnership; and Does 1-10
 3
 4   (each, individually a “Defendant,” and collectively “Defendants”), and alleges as

 5   follows:
 6
                                         I.    PARTIES
 7
 8          1.       Plaintiff Amber Machowski cannot walk or stand. She is paraplegic.
 9   She broke her back in a tragic car accident, and the subsequent back surgery left her
10
     paralyzed from the bellybutton down on the right side of her body. Although she
11
12   can move the left lower half of her body, neurological issues and muscle atrophy
13   have resulted in weakness, reduced motor function, and limited mobility in the left
14
     lower half of her body. Plaintiff has regularly attended physical therapy since the
15
16   accident. Plaintiff is permanently confined to a wheelchair. She uses a manual
17   wheelchair. Plaintiff is a disabled person entitled to the protections of the
18
     California Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52,
19
20   et seq.), the Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et
21
     seq.), and other statutory laws which protect the rights of “disabled persons.”
22
     Plaintiff has been issued permanent a blue permanent Disabled Person Parking
23
24   Placard, by the State of California. Plaintiff is a California resident with physical
25
     disabilities.
26
            2.       Defendant La Fayette Plaza Investors L.P., a California limited
27
28
                                            2
                                        COMPLAINT
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 1   partnership owns/owned the property (the “Property”), located at 13011 Newport
 2
     Avenue, Tustin, CA 92780.
 3
 4         3.     There is a business establishment on the Property named “The Lost

 5   Bean Organic Coffee & Tea,” (hereinafter, “the business”).
 6
           4.     The business is a public accommodation as defined by 42 U.S.C. §
 7
 8   12181(7).
 9         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
10
     owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
11
12   corporate officers, managers, principles, and/or representatives of Defendants.
13   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
14
     DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
15
16   names. Plaintiff requests that the Court grant leave to amend this complaint to
17   allege the true names and capacities when determined by whatever source.
18
           6.     Defendants, at all relevant times, were relevant to this action; were the
19
20   owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
21
     agents, affiliates, employees, employers, representative partners, subsidiaries,
22
     partner companies, and/or joint venturers of the remaining Defendants; and were
23
24   acting within the course and scope of that relationship. Upon information and
25
     belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
26
     authorized the acts alleged of each of the remaining Defendants.
27
28
                                          3
                                      COMPLAINT
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 1          7.     Plaintiff visited the public accommodations owned, leased, and/or
 2
     operated by Defendants with the intent to purchase and/or use the goods, services,
 3
 4   facilities, privileges, advantages, and/or accommodations offered by Defendants.

 5                            II.     JURISDICTION & VENUE
 6          8.     This Court has subject matter jurisdiction over this action pursuant to
 7
     28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 8
 9          9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
10   action, arising from the same nucleus of operative facts, and arising out of the same
11
     transactions, is also brought under the UCRA, which expressly incorporates the
12
13   ADA.
14
            10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
15
     the real property which is the subject of this action is located in this district, and
16
17   Plaintiff’s cause of action arose in this district.
18
                                           III.   FACTS
19
            11.    The Property is a facility which is open to the public and includes
20
21   business establishments.
22
            12.    The Property has been newly constructed and/or underwent
23
     remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
24
25   to comply with California access standards which applied at the time of each new
26
     construction and/or alteration, and/or failed to maintain accessible features in
27
28
     operable working condition.
                                            4
                                        COMPLAINT
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 1         13.    Plaintiff visited the Property during the relevant statutory period on
 2
     two (2) separate occasions, in December 2019 and January 2021 to patronize the
 3
 4   business on the Property.

 5         14.    Defendants did not offer persons with disabilities with equivalent
 6
     facilities, privileges, and advantages offered by Defendants to other patrons.
 7
 8         15.    Plaintiff encountered barriers, both physical and intangible, that
 9   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
10
     privileges, and/or accommodations offered at the Property.
11
12         16.    Parking is one of the facilities, privileges, and advantages offered by
13   Defendants to patrons of the Property.
14
           17.    However, there was no accessible parking for disabled patrons at the
15
16   Property. The parking space(s) designated for disabled persons did not comply
17   with the ADA.
18
           18.    The parking area did not comply with the applicable California
19
20   Building Code (CBC).
21
           19.    When Plaintiff visited the Property, she experienced access barriers
22
     related to parking, signage, and paths of travel.
23
24         20.    Plaintiff encountered the following barriers, conditions, and/or
25
     violations at the Property:
26
27
28
                                          5
                                      COMPLAINT
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 1         The Lost Bean Organic Coffee & Tea does not have accessible
 2
           designated disabled parking spaces. The parking spaces and access aisle
 3
 4         have slopes, pavement distresses, faded paint, missing signage, and the

 5         surface sign is double painted. The designated disabled parking spaces
 6
           are located farther from the business entrance despite there being spaces
 7
 8         closer. It is dangerous for Plaintiff to use her wheelchair on the paths of
 9         travel because there are changes in ground level and slopes. The
10
           restroom inside of the business has hot water pipes that are not covered
11
12         which can cause Plaintiff severe injury. There are other elements on this
13         Property that are not ADA complaint.
14
15
16         VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
17         § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
18
           accessible route of travel is not provided to all entrances and portions of the
19
20         building, to all entrances of the Property, and/or between the building and a
21         public way. Plaintiff needs a dedicated path of travel, free of obstructions
22
           and vehicles, where (on which) Plaintiff can travel. It is dangerous for
23
24         Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
25
           the violation interferes with Plaintiff’s ability to fully access the premises.
26
27
28
                                          6
                                      COMPLAINT
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 1         VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
 2
           206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
 3
 4         1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.

 5         (Accessible route of travel.) At least one accessible route shall be provided
 6
           within the site from accessible parking spaces and accessible passenger
 7
 8         loading zones; public streets and sidewalks; and public transportation stops to
 9         the accessible building or facility entrance they serve. At least one accessible
10
           route shall connect accessible buildings, accessible facilities, accessible
11
12         elements, and accessible spaces that are on the same site. The requisite
13         accessible route of travel is not provided. There is no accessible route of
14
           travel from the designated disabled parking spaces, adjacent access aisle to
15
16         the business/building entrance. Plaintiff needs an accessible route of travel,
17         with level and smooth ground, free of obstructions and vehicles, whereupon
18
           Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
19
20         without a safe, protected, accessible route of travel; thus, the violation
21         interferes with Plaintiff’s ability to fully access the premises. The lack of a
22
           safe and accessible route, with a smooth and level surface, denied Plaintiff
23
24         full and equal use or access during each of Plaintiff’s visits by making it
25
           difficult/ harder for Plaintiff to traverse.
26
27
28
                                           7
                                       COMPLAINT
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 1         VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
 2
           1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
 3
 4         directional signage showing an accessible path of travel to an accessible

 5         entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
 6
           backtrack because Plaintiff cannot find an accessible entrance into the
 7
 8         business/building. Thus, Plaintiff requires clear signage directing him to any
 9         accessible entrance(s). Accessible entrances should be marked with an
10
           International Symbol of Accessibility.
11
12
13         VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-
14
           502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
15
16         sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED
17         IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
18
           AWAY”) must be posted in a conspicuous place at each entrance to an off-
19
20         street parking lot (facility), or immediately adjacent to and visible from each
21         designated parking stall (space). The requisite sign(s) are not posted.
22
           Plaintiff must use the designated disabled parking spaces and requires the
23
24         proper protections of an access aisle and an accessible route of travel to
25
           safely access the Property. Clear signage that explicitly warns of the
26
           consequences for improperly parking in the designated disabled parking
27
28
                                          8
                                      COMPLAINT
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 1         spaces will deter others without disabilities from parking there.
 2
 3
 4         VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §

 5         1129B.4; 2019 CBC § 11B-502.6.2. (Sign missing – “Minimum Fine
 6
           $250.”) There was no sign warning of the minimum fine of $250 for
 7
 8         unauthorized parking posted in front of the right designated disabled parking
 9         space. Plaintiff needs to park in the space that is closest to the business
10
           entrance and designated for disabled persons. Clear signage that distinctly
11
12         warns of the penalties for unauthorized parking in the designated disabled
13         parking space will deter others without disabilities from parking in the space
14
           and thereby blocking Plaintiff from being able to use it.
15
16
17         VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
18
           11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
19
20         route/path of travel are greater than two percent (2%). It is difficult for
21         Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
22
           when there are surfaces with excess slopes. The presence of excess slopes
23
24         denied Plaintiff full and equal use or access during Plaintiff’s visits by
25
           making it difficult and/or uncomfortable for Plaintiff to traverse the
26
           property/route. The barrier also deterred/deters Plaintiff from visiting the
27
28
                                          9
                                      COMPLAINT
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  1         Property because it would make it difficult and/or uncomfortable for
  2
            Plaintiff to walk/traverse the property/route.
  3
  4         VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,

  5         303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
  6
            CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
  7
  8         changes in level; uneven ground surface.) Floor and ground surfaces shall be
  9         stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
 10
            shall be permitted to be vertical and without edge treatment. Changes in
 11
 12         level between ¼-inch high minimum and ½-inch high maximum shall be
 13         beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
 14
            inch high shall be ramped. The route of travel, including from the designated
 15
 16         disabled parking space to the entrance of the building/business, have an
 17         uneven ground surface with changes in level exceeding one-half inch (1/2")
 18
            (and no ramps are provided). The route of travel has damaged ground which
 19
 20         is not flush or flat. The ground has pavement distresses. The types of
 21         pavement distresses which exist include but are not limited to: alligator
 22
            (fatigue) cracking; joint reflection cracking; potholes; asphalt bleeding;
 23
 24         patching near utilities; block cracking; raveling; stripping; corrugation and
 25
            shoving; and depressions. These pavement distresses are made worse and
 26
            exacerbated by design elements which do not follow the ADAAG. These
 27
 28
                                         10
                                      COMPLAINT
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  1         areas should be fixed immediately because they pose a tripping and/or falling
  2
            hazard. Plaintiff, a cannot safely and fully enjoy the premises when such
  3
  4         conditions are present. These excess changes in level and uneven ground

  5         surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may catch on
  6
            the uneven ground causing Plaintiff to fall. These abrupt changes in level
  7
  8         pose an increased risk of danger to Plaintiff, as Plaintiff is more likely to
  9         trip/fall than someone without disabilities. The excess changes in level (i.e.,
 10
            uneven ground) denied Plaintiff full and equal use or access during each of
 11
 12         Plaintiff’s visits by making it difficult/harder and more dangerous for
 13         Plaintiff to traverse the property/route. The excess changes in level (i.e.,
 14
            uneven ground) also deterred/deters Plaintiff from visiting the Property
 15
 16         because it would be difficult/harder and more dangerous for Plaintiff to
 17         traverse the property/route.
 18
 19
 20         VIOLATION of 1991 ADAS § 4.6.2; 2010 ADAS § 208.3.1; 2010 CBC §
 21         1129B.1. (Minimize travel distance.) The parking space reserved for disabled
 22
            persons is not located to minimize the travel distance to the entrance. The
 23
 24         parking spaces closest to the entrance of the business are not designated
 25
            accessible spaces. The space reserved for disabled persons are located
 26
            farther.
 27
 28
                                          11
                                       COMPLAINT
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  1
  2
  3
  4         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§

  5         1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
  6
            (Faded paint – accessible parking space lines.) The paint used for the
  7
  8         designated disabled parking space is so worn and aged that it cannot (can
  9         hardly) be seen. This makes it unclear where the actual designated disabled
 10
            parking space is, and it makes it difficult for Plaintiff to use the space.
 11
 12         Plaintiff needs to be able to use the designated disabled parking space, which
 13         should be located closest to the entrance and linked to an accessible route of
 14
            travel, because it is more difficult for Plaintiff as opposed to non-disabled
 15
 16         persons, to maneuver about the Property. When the paint for the designated
 17         disabled parking space is worn and aged, there is a greater risk that non-
 18
            disabled patrons will park in the designated disabled parking space,
 19
 20         preventing Plaintiff from using it and accessing the business.
 21
 22
            VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
 23
 24         11B-502.2. (Width of designated disabled parking space.) The designated
 25
            disabled parking space measured/measures less than nine feet (9') wide,
 26
            which made (would make) it difficult for Plaintiff to use the designated
 27
 28
                                          12
                                       COMPLAINT
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  1         space, and which denied (would deny) plaintiff full and equal use and access
  2
            of the full width of the required space. Plaintiff cannot safely disembark from
  3
  4         the vehicle when adequate space is not provided. Plaintiff needs to be able to

  5         use the designated disabled parking space, which should be located closest to
  6
            the entrance and linked to an accessible route of travel, because it is more
  7
  8         difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
  9         the Property.
 10
 11
 12
            VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
 13
 14
            11B-502.2. (Length of designated disabled parking space.) The designated

 15         disabled parking space measures/measured less than eighteen feet (18') long,
 16
            which made (would make) it difficult for Plaintiff to use the designated
 17
 18         space, and which denied (would deny) plaintiff full and equal use and access

 19         of the full length of the required space.Plaintiff cannot safely park and
 20
            disembark from the vehicle when adequate space is not provided. Plaintiff
 21
 22         needs to be able to use the designated disabled parking space, which should

 23         be located closest to the entrance and linked to an accessible route of travel,
 24
            because it is more difficult for Plaintiff, as opposed to non-disabled persons,
 25
 26         to maneuver about the Property.

 27
 28
                                         13
                                      COMPLAINT
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  1         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
  2
            1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
  3
  4         access aisle adjacent to the designated disabled parking space is/was less than

  5         eighteen feet (18') long (which is also the required length of the designated
  6
            disabled parking space), which denied (would deny) plaintiff full and equal
  7
  8         use and access of the full length of the required access aisle. Plaintiff needs
  9         extra space to be able to safely exit the vehicle. When the access aisle is too
 10
            small, Plaintiff has difficulty disembarking from the vehicle, which poses a
 11
 12         greater risk of injury to Plaintiff and can also cause humiliation and/or
 13         frustration.
 14
 15
 16         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
 17         1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
 18
            loading/unloading access aisle adjacent to the designated disabled parking
 19
 20         space is/was less than five feet (5') wide, which denied (would deny) plaintiff
 21         full and equal use and access of the full width of the required access aisle.
 22
            Plaintiff needs extra space to be able to safely exit the vehicle. When the
 23
 24         access aisle is too small, Plaintiff has difficulty disembarking from the
 25
            vehicle, which poses a greater risk of injury to Plaintiff and can also cause
 26
            humiliation and/or frustration.
 27
 28
                                         14
                                      COMPLAINT
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  1
  2
  3
  4         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§

  5         11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
  6
            disabled parking spaces.) The designated disabled parking spaces have
  7
  8         slopes and cross slopes that are greater than two percent (2%). Given
  9         Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
 10
            surface. Sloped ground surfaces pose risks to Plaintiff, including that
 11
 12         Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
 13
 14
            VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
 15
 16         1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
 17         loading/unloading access aisle adjacent to the designated disabled parking
 18
            spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
 19
 20         mobility issues, Plaintiff needs to be able to traverse on a level surface.
 21         Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
 22
            may catch on the sloped ground, causing Plaintiff to fall.
 23
 24
 25
            VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
 26
            1129B.3.1; 2019 CBC § 11B-502.3. (No loading/unloading access aisle.)
 27
 28
                                          15
                                       COMPLAINT
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  1         The loading/unloading access aisle which is required to be adjacent to the
  2
            designated disabled parking space is/was essentially missing. There were a
  3
  4         few barely visible lines, which may have been the remnants of a once

  5         painted access aisle, but which did not constitute or depict a compliant
  6
            access aisle. This made it difficult for Plaintiff to use the space (i.e., the
  7
  8         barely visible former access aisle) to safely disembark from the vehicle. The
  9         barrier denied (would deny) Plaintiff full and equal use or access, by
 10
            depriving Plaintiff of an aisle which is required to be properly striped/
 11
 12         marked for Plaintiff’s use (i.e., for the use of disabled persons as opposed to
 13         nondisabled persons). Plaintiff requires sufficient space to safely disembark
 14
            with her mobility device(s) away from other vehicles. Also, when an access
 15
 16         aisle is not clearly painted, there is a greater chance that non-disabled
 17         individuals will park in the access aisle, blocking Plaintiff’s use thereof.
 18
 19
 20         VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § 11B-502.6.4.
 21         (Parking space ground surface signage.) The paint used for the designated
 22
            disabled parking space is faded and cannot (can hardly) be seen; thus, there
 23
 24         is no compliant surface signage at the designated disabled parking space.
 25
            The International Symbol of Accessibility is so faded and worn that it can
 26
            hardly be seen. This makes it difficult for Plaintiff and other patrons to
 27
 28
                                          16
                                       COMPLAINT
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  1         identify or locate the designated disabled parking space. When the paint for
  2
            the International Symbol of Accessibility is so faded and worn, there is a
  3
  4         greater risk that non-disabled patrons will park in the designated disabled

  5         parking space, preventing Plaintiff from using it and accessing the business.
  6
            Plaintiff needs to be able to park in the space that is nearest to the entrance
  7
  8         and designated for disabled patrons. Plaintiff needs to be able to use an
  9         accessible parking space, with an access aisle, to safely access the Property.
 10
            Clear surface signage that explicitly marks the designated disabled parking
 11
 12         space will deter others without disabilities from parking in the space, so that
 13         the space can be available for Plaintiff’s use.
 14
 15
 16         VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
 17         CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The
 18
            words “NO PARKING,” which are required to be painted in the loading/
 19
 20         unloading access aisle, were/are missing (and/or were completely faded such
 21         that the words were no longer visible). As a result, non-disabled patrons
 22
            parked in the loading/unloading access aisle, blocking Plaintiff from being
 23
 24         able to use the access aisle. Plaintiff needs extra space to be able to safely
 25
            exit the vehicle. Plaintiff has difficulty disembarking the vehicle, which
 26
            poses a greater risk of injury to Plaintiff and can cause humiliation and/or
 27
 28
                                          17
                                       COMPLAINT
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  1         frustration. Plaintiff cannot access the Property safely if Plaintiff cannot use
  2
            an accessible parking space and adjacent access aisle.
  3
  4         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §

  5         1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
  6
            The adjacent loading/unloading access aisles must adjoin an accessible route
  7
  8         to an accessible entrance. It does/did not. Plaintiff cannot access the
  9         Property safely unless there is an access aisle onto which Plaintiff can
 10
            disembark from the vehicle. The access aisle must lead to an accessible route,
 11
 12         so that Plaintiff can safely travel to and enter the business. There is no safe
 13         route of travel from the designated disabled parking space to the business
 14
            entrance. The barrier deterred/deters Plaintiff from visiting the property
 15
 16         because the lack of a safe and accessible route would make it difficult,
 17         uncomfortable, and/or unsafe for Plaintiff to walk around the property,
 18
            including to travel from the designated disabled parking space to the building
 19
 20         entrance.
 21
 22
            VIOLATION of 1991 ADAS §§ 4.3.8, 4.5.2; 2010 ADAS §§ 302.1, 303.2,
 23
 24         303.3, 303.4, 403.2; 2010 CBC §§ 1133B.7.1, 1133B.7.4; 2019 CBC §§
 25
            11B-302.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-403.2. (Changes in level
 26
            – designated disabled parking space.) There are excess changes in level (of
 27
 28
                                         18
                                      COMPLAINT
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  1         more than one-half inch) within the parking spaces reserved for disabled
  2
            patrons. The asphalt is uneven, and has depressions, dips, and divots. The
  3
  4         ground has sunken and cracked parts. This makes travelling in this area

  5         difficult. These excess changes in level and uneven ground surfaces pose
  6
            risks to Plaintiff, including that Plaintiff may fall.
  7
  8
  9         VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
 10
            § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
 11
 12         (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
 13         greater than 1:20 (5%), but there is no compliant ramp (with appropriate
 14
            level ramp landings at the top and bottom of each ramp). It is difficult for
 15
 16         Plaintiff to walk on sloped surfaces that do not provide the safety features of
 17         a compliant ramp. These excess changes in level pose risks to Plaintiff,
 18
            including that Plaintiff may fall. The lack of a complaint ramp, with its
 19
 20         attendant safety/accessibility features, denied Plaintiff full and equal use or
 21         access during his visits by making it difficult/harder for Plaintiff to traverse
 22
            the property/route.
 23
 24
 25
            VIOLATION of 2010 CBC § 1133B.5.2; 2019 CBC § 11B-405.5.
 26
            (Minimum width of ramps.) The route of travel has slopes greater than 1:20
 27
 28
                                          19
                                       COMPLAINT
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  1         (5%), but there is no compliant ramp. There is no compliant ramp with a
  2
            minimum width of forty-eight inches (48"). Plaintiff requires adequate space
  3
  4         to navigate on sloped surfaces and/or ramps and Plaintiff cannot do so

  5         without a ramp of sufficient width. The lack of a complaint ramp, of the
  6
            requisite width, denied Plaintiff full and equal use or access during Plaintiff’s
  7
  8         visits by making it difficult/ harder for Plaintiff to traverse the property/route.
  9         The lack of a complaint ramp, of the requisite width, also deterred/deters
 10
            Plaintiff from visiting the Property because it would be difficult/harder for
 11
 12         Plaintiff to traverse the property/route.
 13
 14
            VIOLATION of 1991 ADAS § 4.8.2; 2010 CBC § 1133B.5.3. (Least
 15
 16         possible slope of ramp.) There is no compliant ramp, with the least possible
 17         slope, leading into the business. The curb ramp exceeds the maximum
 18
            running slope allowable. Plaintiff has difficulty traveling on slopes that are
 19
 20         not compliant ramps.
 21
 22
            VIOLATION of 2010 CBC § 1117B.5.7; 1991 ADAS § 4.30.6; 2010
 23
 24         ADAS § 703.4. (Sanitary facilities – wall signage.) There is no signage on
 25
            the wall approaching the restrooms. Plaintiff has difficulty locating the
 26
            accessible restroom when the required signage is not posted.
 27
 28
                                          20
                                       COMPLAINT
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  1
  2
  3
  4         VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)

  5         The sanitary facilities are missing door signage indicating an accessible
  6
            facility.
  7
  8
  9         VIOLATION of 1991 ADAS § 4.16.6; 2010 ADAS § 604.7; 2010 CBC §
 10
            1115B.8.4. (Toilet paper dispenser.) The restroom’s toilet tissue dispenser is
 11
 12         mounted more than twelve inches (12”) from the front edge of the toilet seat,
 13         making (which would make) it difficult for Plaintiff to reach the tissue
 14
            dispenser and use the toilet.
 15
 16
 17         VIOLATION of 2010 CBC § 1115B.4.3.4; 1991 ADAS § 4.19.4. (Hot
 18
            water pipes insulation.) Hot water and drainpipes are not insulated or
 19
 20         covered.
 21
 22
            VIOLATION of 1991 ADAS § 4.13.10; 2010 ADAS § 404.2.8.1; 2010
 23
 24         CBC § 1133B.2.5.1; 2019 CBC § 11B-404.2.8.1. (Restroom door closing
 25
            speed.) The restroom entrance door is equipped with a door closer and
 26
            returns to a closed position too quickly. Plaintiff cannot move out of the
 27
 28
                                         21
                                      COMPLAINT
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  1          doorway as quickly as others without disabilities. Thus, Plaintiff requires a
  2
             safe entrance that allows Plaintiff extra time to pass through without the risk
  3
  4          of being injured by the closing door. The safe, accessible entrance must be

  5          clearly marked with an ISA sign so that Plaintiff can find it.
  6
  7
  8          21.    Plaintiff personally encountered the foregoing barriers, conditions,
  9   and/or violations.
 10
             22.    These barriers, conditions, and/or violations denied Plaintiff full and
 11
 12   equal access, and caused her difficulty, humiliation, and/or frustration.
 13          23.    The barriers, conditions, and/or violations existed during each of
 14
      Plaintiff’s visits in 2021.
 15
 16          24.    Defendants knew that the foregoing architectural barriers prevented
 17   access. Plaintiff will prove that Defendants had actual knowledge that the
 18
      architectural barriers prevented access, and that the noncompliance with the ADA
 19
 20   Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
 21
      Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
 22
      was intentional.
 23
 24          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
 25
      Plaintiff is reasonably deterred from returning to Defendants’ public
 26
      accommodation facilities because of the knowledge of barriers to equal access,
 27
 28
                                          22
                                       COMPLAINT
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  1   relating to Plaintiff’s disabilities, that continue to exist at the Property.
  2
             26.    Defendants have failed to maintain in working and useable condition
  3
  4   those features necessary to provide ready access to persons with disabilities.

  5          27.    Defendants have the financial resources (i.e., financial ability) to
  6
      remove these barriers without much expense or difficulty in order to make the
  7
  8   Property more accessible to their mobility impaired customers (i.e., disabled
  9   persons). The removal of these barriers is readily achievable. The United States
 10
      Department of Justice has determined that removal of these types of barriers is
 11
 12   readily achievable.
 13          28.    Defendants refuse to remove these barriers.
 14
             29.    On information and belief, Plaintiff alleges that Defendants’ failure to
 15
 16   remove these barriers was/is intentional, because the barriers are logical and
 17   obvious. During all relevant times, Defendants had authority, control, and
 18
      dominion over these conditions. Thus, the absence of accessible facilities was/is
 19
 20   not a mishap; it was/is the result of intentional actions or inaction.
 21
             30.    These barriers to access are described herein without prejudice to
 22
      Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 23
 24   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
 25
      (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 26
      have all barriers that relate to his or her disability removed, regardless of whether
 27
 28
                                            23
                                         COMPLAINT
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  1   he or she personally encountered them).
  2
                      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
  3
  4                     AMERICANS WITH DISABILITIES ACT OF 1990

  5                                   (42 U.S.C. § 12101, et seq.)
  6
                                       (Against All Defendants)
  7
  8            31.     Plaintiff alleges and incorporates by reference each and every
  9   allegation contained in all prior paragraphs of this complaint.
 10
               32.     Title III of the ADA prohibits discrimination against any person on the
 11
 12   basis of disability in the full and equal enjoyment of the goods, services, facilities,
 13   privileges, advantages, or accommodations of any place of public accommodation
 14
      by any person who owns, leases, or operates a place of public accommodation. 42
 15
 16   U.S.C. § 12182(a).
 17             33.    Defendants discriminated against Plaintiff by denying her “full and
 18
      equal enjoyment” and use of the goods, services, facilities, privileges, and/or
 19
 20   accommodations they offered during each visit, and each incident of a deterred
 21
      visit.
 22
                34.    The acts and omissions of Defendants herein were/are in violation of
 23
 24   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
 25
      et seq.
 26
                35.    Pursuant to the ADA, discrimination is a “failure to make reasonable
 27
 28
                                             24
                                          COMPLAINT
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  1   modifications in policies, practices or procedures, when such modifications are
  2
      necessary to afford goods, services, facilities, privileges, advantages or
  3
  4   accommodations to individuals with disabilities, unless the entity can demonstrate

  5   that making such modifications would fundamentally alter the nature of such goods,
  6
      services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  7
  8   12182(b)(2)(A)(ii).
  9         36.    The ADA requires removal of architectural barriers in existing
 10
      facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
 11
 12   (“discrimination includes … a failure to remove architectural barriers, and
 13   communication barriers that are structural in nature, in existing facilities, … where
 14
      such removal is readily achievable”). The term “readily achievable” is defined as
 15
 16   “easily accomplishable and able to be carried out without much difficulty or
 17   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 18
      Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
 19
 20   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
 21
      Appendix A.
 22
            37.    If removal of any barrier is not readily achievable, a failure to make
 23
 24   goods, services, facilities, or accommodations available through alternative
 25
      methods is also prohibited if the alternative methods are readily achievable. 42
 26
      U.S.C. § 12182(b)(2)(A)(v).
 27
 28
                                          25
                                       COMPLAINT
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  1         38.    Defendants can remove the architectural barriers at their facility
  2
      without much difficulty or expense. Defendants violated the ADA by failing to
  3
  4   remove the barriers because removal was readily achievable. For instance, there

  5   are companies which can repaint parking areas for as little as $350. Defendants can
  6
      afford such costs, which are a fraction of what Defendants receive in (rental or
  7
  8   business) profits in connection with such a large and expensive property.
  9         39.    Alternatively, if it was not “readily achievable” for Defendants to
 10
      remove barriers at their facilities, Defendants violated the ADA by failing to make
 11
 12   their services available through alternative methods which are readily achievable.
 13         40.    On information and belief, Plaintiff alleges that the facility was altered
 14
      after January 26, 1992, mandating compliance with accessibility requirements
 15
 16   under the ADA.
 17         41.    The ADA requires that facilities altered in a manner that affects or
 18
      could affect their usability must be made readily accessible to individuals with
 19
 20   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
 21         42.    Defendants altered the facilities at the Property in a manner that
 22
      violated the ADA, and/or failed to make the Property readily accessible to
 23
 24   physically disabled persons to the maximum extent feasible.
 25
            43.    The ADA also requires reasonable modifications in policies, practices,
 26
      or procedures, when such modifications are necessary to afford goods, services,
 27
 28
                                          26
                                       COMPLAINT
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  1   facilities, privileges, advantages, or accommodations to individuals with
  2
      disabilities, unless the entity can demonstrate that making such modifications
  3
  4   would fundamentally alter the nature of such goods, services, facilities, privileges,

  5   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  6
            44.    Defendants violated the ADA by failing to make reasonable
  7
  8   modifications in policies, practices, or procedures at the Property when these
  9   modifications were necessary to afford (and would not fundamentally alter the
 10
      nature of) the goods, services, facilities, privileges, advantages, or accommodations.
 11
 12         45.    Plaintiff seeks a finding from this Court that Defendants violated the
 13   ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
 14
            46.    Here Defendants’ failure to make sure that accessible facilities were
 15
 16   available to, and ready to be used by, Plaintiff was/is a violation of law.
 17         47.    Plaintiff would like to continue to frequent the Property, which is close
 18
      to her home. However, she is deterred from doing so because she has been
 19
 20   discriminated against and is aware of accessibility barriers at the Property.
 21         48.    Among the remedies sought, Plaintiff seeks an injunction order
 22
      requiring compliance with federal and state disability access laws, and remediation
 23
 24   of the existing access violations (i.e., removal of the existing barriers) at the
 25
      Property.
 26
                  V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 27
 28
                                           27
                                        COMPLAINT
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  1                             UNRUH CIVIL RIGHTS ACT
  2
                                    (Cal. Civ. Code §§ 51-53)
  3
  4                                 (Against All Defendants)

  5         49.    Plaintiff repleads and incorporates by reference, as though fully set
  6
      forth herein, the allegations contained in all prior paragraphs of this complaint.
  7
  8         50.    California Civil Code § 51 states, in part: “All persons within the
  9   jurisdictions of this state are entitled to the full and equal accommodations,
 10
      advantages, facilities, privileges, or services in all business establishments of every
 11
 12   kind whatsoever.”
 13         51.    California Civil Code § 51 also states, in part: “No business
 14
      establishment of any kind whatsoever shall discriminate against any person in this
 15
 16   state because of the disability of the person.”
 17         52.    California Civil Code § 51(f) specifically incorporates, by reference,
 18
      an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
 19
 20         53.    The UCRA also provides that a violation of the ADA, or California
 21
      state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 22
      see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
 23
 24   1994).
 25
            54.    Defendants’ above-mentioned acts and omissions have violated the
 26
      UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
 27
 28
                                          28
                                       COMPLAINT
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  1   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
  2
      disability.
  3
  4          55.    Defendants’ above-mentioned acts and omissions have also violated

  5   the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
  6
      thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
  7
  8          56.    Because Defendants’ violation of the UCRA resulted in difficulty,
  9   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
 10
      responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
 11
 12   //
 13   //
 14
      //
 15
 16   //
 17   //
 18
      //
 19
 20   //
 21
      //
 22
      //
 23
 24   //
 25
      //
 26
      //
 27
 28
                                           29
                                        COMPLAINT
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  1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
  2
      She seeks actual damages, and statutory minimum damages of four thousand
  3
  4   dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

  5   full and equal access).
  6
                                     PRAYER FOR RELIEF
  7
  8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
  9         1. For injunctive relief compelling Defendants to comply with the
 10
                  Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 11
 12               Plaintiff is not invoking section 55 of the California Civil Code and is not
 13               seeking injunctive relief under the Disabled Persons Act.
 14
            2. Damages under the Unruh Civil Rights Act, which provides for actual
 15
 16               damages and statutory minimum damages of $4,000 per each offense.
 17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
 18
                  to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 19
 20                                      JURY DEMAND
 21
            Plaintiff demands a trial by jury on all issues so triable.
 22
 23
      Dated: October 2, 2021             THE LAW OFFICE OF HAKIMI & SHAHRIARI
 24
                                         By:   /s/ Peter Shahriari
 25                                            PETER SHAHRIARI, ESQ.
 26                                            Attorney for Plaintiff Amber Machowski

 27
 28
                                            30
                                         COMPLAINT
